                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,
                     Plaintiff,
vs.                                                           Case No. 19-CR-00077-JB
MICHAEL NISSEN,
                    Defendant.

                      MOTION TO WITHDRAW AS COUNSEL

       COMES NOW Susan M. Porter, Attorney for Defendant, and respectfully

requests the Court for an Order allowing Susan M. Porter to withdraw as counsel for the

Defendant, Michael Nissen. As grounds therefore, she states:

       On September 17, 2019, attorney Susan Porter was appointed as counsel for

Defendant Michael Nissen after trial counsel Ken Gleria withdrew from further

representation of Mr. Nissen. In preparation for representing Mr. Nissen at sentencing,

Ms. Porter reviewed the pretrial pleadings, trial transcript and discovery from the case. In

addition, on three occasions, Ms. Porter traveled to Cibola County Correctional Center,

where Mr. Nissen is being housed, in order to meet with Mr. Nissen and obtain

information that could be used for sentencing. On the first two visits, Mr. Nissen did not

wish to share with counsel any information that could be used for his benefit at

sentencing. Mr. Nissen also did not want Ms. Porter to review the presentence report

with him. In short, both visits were totally unproductive. On the third attempt to meet
with Mr. Nissen (January 7, 2020), corrections officer Caldwell informed Ms. Porter that

Mr. Nissen refused to meet with her.

       Mr. Nissen has also filed one or more pro se motions without consulting with Ms.

Porter before doing so.

        As the above information reflects, no attorney-client relationship between Mr.

Nissen and Ms. Porter has been established. As a result, counsel cannot effectively

represent Defendant Nissen. To require attorney Susan M. Porter to stay in the case

despite the above-stated reasons would be contrary to Mr. Nissen receiving effective

assistance of counsel.

       Assistant United States Attorney Paul Mysliwiec takes no position on this motion.

       WHEREFORE, the undersigned respectfully requests this Court to allow her to

withdraw as counsel for the Defendant in this matter.

                                                 Respectfully submitted,

                                                  /s/ Susan M. Porter
                                                 SUSAN M. PORTER
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                                                 Albuquerque, NM 87102
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                                                Attorney for Michael Nissen




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I hereby certify that on January 8, 2020 the
foregoing Defendant’s Motion to Withdraw as
Counsel was filed electronically through the
CM/ECF system, which caused said motion to
be electronically distributed to all persons
entitled to service.

       /s/ Susan M. Porter
Susan M. Porter




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